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                         IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 ALICIA MCKENZIE,                                    :
                                                     :   Case No. ______________
         Plaintiff,                                  :
                                                     :   JURY TRIAL DEMANDED
         v.                                          :
                                                     :   COMPLAINT FOR VIOLATION OF THE
 ALEXION PHARMACEUTICALS, INC.,                      :   SECURITIES EXCHANGE ACT OF 1934
 DAVID R. BRENNAN, CHRISTOPHER J.                    :
 COUGHLIN, DEBORAH DUNSIRE, PAUL                     :
 A. FRIEDMAN, LUDWIG HANTSON,                        :
 JOHN T. MOLLEN, FRANCOIS NADER,                     :
 JUDITH A. REINSDORF, ANDREAS                        :
 RUMMELT, ASTRAZENECA PLC, DELTA                     :
 OMEGA SUB HOLDINGS INC., DELTA                      :
 OMEGA SUB HOLDINGS INC. 1, and                      :
 DELTA OMEGA SUB HOLDINGS LLC 2,                     :
                                                     :
         Defendants.                                 :

       Plaintiff, by her attorneys, for this complaint against defendants, alleges the following upon

personal knowledge with respect to herself, and upon information and belief based upon the

investigation of counsel as to all other allegations herein:

                                     NATURE OF ACTION

       1.       On December 12, 2020, Alexion Pharmaceuticals, Inc. (“Alexion” or the

“Company”) entered into an agreement (the “Merger Agreement”) to be acquired by AstraZeneca

PLC (“Parent”), Delta Omega Sub Holdings Inc. (“Bidco”), Delta Omega Sub Holdings Inc. 1

(“Merger Sub I”), and Delta Omega Sub Holdings LLC 2 (“Merger Sub II”) (together,

“AstraZeneca”) (the “Proposed Merger”).

       2.       Under the terms of the Merger Agreement, Alexion’s stockholders will receive

2.1243 American depository shares of Parent and $60.00 in cash per share.
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       3.       On February 19, 2021, defendants filed a registration statement (the “Registration

Statement”) with the U.S. Securities and Exchange Commission (the “SEC”).

       4.       As alleged herein, the Registration Statement fails to disclose material information

regarding the Proposed Merger, and defendants violated Sections 14(a) and 20(a) of the Securities

Exchange Act of 1934 (the “Exchange Act”).

                                 JURISDICTION AND VENUE

       5.       This Court has jurisdiction over the claims asserted herein pursuant to Section 27

of the Exchange Act because the claims asserted herein arise under Sections 14(a) and 20(a) of the

Exchange Act and Rule 14a-9.

       6.       This Court has jurisdiction over defendants because each defendant is either a

corporation that conducts business in and maintains operations within this District, or is an

individual with sufficient minimum contacts with this District so as to make the exercise of

jurisdiction by this Court permissible under traditional notions of fair play and substantial justice.

       7.       Venue is proper under 28 U.S.C. § 1391(b) because a portion of the transactions

and wrongs complained of herein occurred in this District.

                                          THE PARTIES

       8.       Plaintiff is and has been continuously throughout all relevant times the owner of

Alexion common stock.

       9.       Defendant Alexion is a Delaware corporation. Alexion’s common stock is traded

on the NASDAQ under the ticker symbol “ALXN.”

       10.      Defendant David R. Brennan is Chairman of the Board of Directors of Alexion (the

“Board”).

       11.      Defendant Christopher J. Coughlin is a member of the Board.




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          12.   Defendant Deborah Dunsire is a member of the Board.

          13.   Defendant Paul A. Friedman is a member of the Board.

          14.   Defendant Ludwig Hantson is Chief Executive Officer and a member of the Board.

          15.   Defendant John T. Mollen is a member of the Board.

          16.   Defendant Francois Nader is a member of the Board.

          17.   Defendant Judith A. Reinsdorf is a member of the Board.

          18.   Defendant Andreas Rummelt is a member of the Board.

          19.   Defendants identified in ¶¶ 10-18 are referred to herein as the “Individual

Defendants.”

          20.   Defendant Parent is a public limited company incorporated under the laws of

England and Wales.

          21.   Defendant Bidco is a Delaware corporation and a wholly-owned subsidiary of

Parent.

          22.   Defendant Merger Sub I is a Delaware corporation and a wholly-owned subsidiary

of Bidco.

          23.   Defendant Merger Sub II is a Delaware limited liability company and a wholly-

owned subsidiary of Bidco.

                              SUBSTANTIVE ALLEGATIONS

          24.   The Company is a global biopharmaceutical company that serves patients and

families affected by rare diseases and conditions through the discovery, development, and

commercialization of life-changing medicines.

          25.   On December 12, 2020, Alexion entered into the Merger Agreement, under which

Alexion’s stockholders will receive 2.1243 American depository shares of Parent and $60.00 per




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share.

         26.    The press release announcing the Proposed Merger provides as follows:

         AstraZeneca and Alexion Pharmaceuticals, Inc. (Alexion) have entered into a
         definitive agreement for AstraZeneca to acquire Alexion. []

         Alexion shareholders will receive $60 in cash and 2.1243 AstraZeneca American
         Depositary Shares (ADSs) (each ADS representing one-half of one (1/2) ordinary
         share of AstraZeneca, as evidenced by American Depositary Receipts (ADRs)) for
         each Alexion share. Based on AstraZeneca’s reference average ADR price of
         $54.14, this implies total consideration to Alexion shareholders of $39bn or $175
         per share.

         The boards of directors of both companies have unanimously approved the
         acquisition. Subject to receipt of regulatory clearances and approval by
         shareholders of both companies, the acquisition is expected to close in Q3 2021,
         and upon completion, Alexion shareholders will own c.15% of the combined
         company.

         Pascal Soriot, Chief Executive Officer, AstraZeneca, said: “Alexion has established
         itself as a leader in complement biology, bringing life-changing benefits to patients
         with rare diseases. This acquisition allows us to enhance our presence in
         immunology. We look forward to welcoming our new colleagues at Alexion so that
         we can together build on our combined expertise in immunology and precision
         medicines to drive innovation that delivers life-changing medicines for more
         patients.”

         Ludwig Hantson, Ph.D., Chief Executive Officer, Alexion, said: “For nearly 30
         years Alexion has worked to develop and deliver transformative medicines to
         patients around the world with rare and devastating diseases. I am incredibly proud
         of what our organisation has accomplished and am grateful to our employees for
         their contributions. This transaction marks the start of an exciting new chapter for
         Alexion. We bring to AstraZeneca a strong portfolio, innovative rare disease
         pipeline, a talented global workforce and strong manufacturing capabilities in
         biologics. We remain committed to continuing to serve the patients who rely on our
         medicines and firmly believe the combined organisation will be well positioned to
         accelerate innovation and deliver enhanced value for our shareholders, patients and
         the rare disease communities.” []

         Details of the acquisition

         Key terms

         The acquisition will be undertaken through a US statutory merger in which Alexion
         shareholders will receive $60 in cash and 2.1243 new AstraZeneca ADSs listed on



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the Nasdaq exchange for each of their Alexion shares. The cash and ADS
consideration represents an c.45% premium to Alexion shareholders based on the
closing stock price of Alexion on 11 December 2020 and a c.43% premium, based
on the 30-day volume-weighted average closing stock price of $122.04 before this
announcement. If they elect, Alexion shareholders may receive their allocation of
AstraZeneca ADSs in the form of a corresponding number of ordinary shares of
AstraZeneca in addition to the cash consideration.

Based on AstraZeneca’s reference average ADR price of $54.14, this implies total
consideration to Alexion shareholders of $39bn or $175 per share.

Financing

To support the financing of the offer consideration, AstraZeneca has entered into a
new committed $17.5bn bridge-financing facility, provided by Morgan Stanley,
J.P. Morgan Securities plc and Goldman Sachs. The bridge-financing facility is
available for an initial term of 12 months from the earlier of the date of completion
of the acquisition and 12 December 2021 with up to two six-month extensions
available at the discretion of AstraZeneca. The initial bridge financing facility is
intended to cover the financing of the cash portion of the acquisition consideration
and associated acquisition costs and to refinance the existing term loan and
revolving credit facilities of Alexion. In due course, AstraZeneca intends to
refinance the initial bridge-financing facility through a combination of new
medium-term bank loan facilities, debt-capital market issuances and business cash
flows.

The acquisition is expected to significantly enhance cash generation, which will
support rapid debt reduction and overall deleveraging. AstraZeneca remains
committed to maintaining a strong investment-grade credit rating. The dividend
policy remains unchanged with a commitment to a progressive dividend policy;
dividend cover is expected to be materially enhanced as a result of the acquisition.

Further information on synergies

The acquisition is expected to realise recurring run-rate pre-tax synergies of
c.$500m per year from the combined Group, generated from commercial and
manufacturing efficiencies as well as savings in central costs, with full run-rate
expected to be achieved by end of the third year following completion of the
acquisition.

To realise the total synergies, AstraZeneca expects to incur one-time cash costs of
c.$650m, during the first three years following completion.

Management and employees

Members of Alexion’s current senior management team will lead the future rare-



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disease activities. Under the terms of the acquisition agreement, AstraZeneca has
agreed that for 12 months following closing, it will provide the Alexion employees
with the same level of salary as such employees had before closing, incentive
compensation opportunities that are in the aggregate no less favourable than those
provided before closing and substantially comparable benefits to those provided
before closing.

Governance

The companies will mutually agree on two individuals from the Alexion board of
directors who will join the AstraZeneca board as directors upon closing of the
acquisition.

Closing conditions

Closing of the acquisition is subject to approval by AstraZeneca and Alexion
shareholders, certain regulatory approvals, approval of the new AstraZeneca shares
for listing with the Financial Conduct Authority and to trading on the London Stock
Exchange, and other customary closing conditions.

The acquisition is a Class 1 transaction for AstraZeneca and as such, will require
the approval of its shareholders to comply with the UK Listing Rules. A shareholder
circular, together with notice of the relevant shareholder meeting, will be
distributed to shareholders in the first half of 2021.

The Alexion proxy statement is also expected to be published in the first half of
2021.

Subject to the satisfaction of the closing conditions to the proposed acquisition, the
companies expect the acquisition to close in Q3 2021.

Termination

The acquisition terms provide that Alexion will be liable to pay a break fee of up
to $1.2bn to AstraZeneca in certain specified circumstances (including a change of
Alexion’s board recommendation or completion of an alternative acquisition).
AstraZeneca will also be required to pay Alexion a break fee of $1.4bn in certain
specified circumstances, including a change of AstraZeneca’s board
recommendation.

Recommendation

The boards of directors of both Alexion and AstraZeneca have unanimously
approved the proposed acquisition and resolved to recommend that their respective
shareholders vote in favour of it.




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       Advisors to AstraZeneca

       Evercore Partners International LLP (“Evercore”), and Centerview Partners UK
       LLP (“Centerview Partners”) are acting as lead financial advisers. Ondra LLP
       (“Ondra”) are providing advice as part of their ongoing financial advisory services.
       Morgan Stanley & Co. International plc (“Morgan Stanley”) and Morgan Stanley
       Bank International Limited and J.P. Morgan are acting as financial advisors and
       lead debt financing underwriters. Goldman Sachs Bank USA is acting as lead debt
       financing underwriter. Morgan Stanley and Goldman Sachs International are joint
       corporate brokers. Evercore is acting as sponsor in relation to the transaction
       described in this announcement. Freshfields Bruckhaus Deringer is acting as legal
       counsel.

       Advisors to Alexion

       Bank of America Securities is serving as financial advisor to Alexion, and
       Wachtell, Lipton, Rosen & Katz is serving as legal counsel.

       27.     On February 19, 2021, defendants filed the Registration Statement, which fails to

disclose material information regarding the Proposed Merger.

                                        Financial Analyses

       28.     The Registration Statement fails to disclose material information regarding the

financial analyses performed by Bank of America Securities (“BofA”), Alexion’s financial

advisor. When a banker’s endorsement of the fairness of a transaction is touted to shareholders,

the valuation methods used to arrive at that opinion and the key inputs and range of ultimate values

generated by those analyses must be fairly disclosed.

       29.     The Registration Statement fails to disclose the following regarding BofA’s

Selected Publicly Traded Companies Analyses of both Alexion and AstraZeneca: the individual

multiples for the observed companies.

       30.     The Registration Statement fails to disclose the following regarding BofA’s

Selected Precedent Transactions Analysis: the individual multiples for the observed transactions.




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        31.     The Registration Statement fails to disclose the following regarding BofA’s

Discounted Cash Flow Analysis of Alexion: (i) the unlevered free cash flows used in the analysis

and the line items used to calculate unlevered free cash flow; (ii) the inputs and assumptions

underlying the discount rates; (iii) the basis for assuming no cash flows and terminal value for

Alexion beyond 2040; (iv) the number of fully-diluted shares of Alexion common stock

outstanding; and (v) the Company’s net debt.

        32.     The Registration Statement fails to disclose the following regarding BofA’s

Discounted Cash Flow Analysis of AstraZeneca: (i) the unlevered free cash flows used in the

analysis and the line items used to calculate unlevered free cash flow; (ii) the inputs and

assumptions underlying the discount rates and perpetuity growth rates; (iii) the terminal values;

(iv) the number of fully-diluted shares of AstraZeneca common stock outstanding; and (v)

AstraZeneca’s net debt.

        33.     The Registration Statement fails to disclose the following regarding BofA’s Wall

Street Analysts Price Targets analyses of both Alexion and AstraZeneca: (i) the observed price

targets; and (ii) the sources of the price targets.

        34.     The Registration Statement fails to disclose the following regarding BofA’s Premia

Paid Analysis: (i) the observed transactions; and (ii) the premiums paid in the transactions.

        35.     The Registration Statement fails to disclose the following regarding BofA’s

Has/Gets Analysis: (i) the inputs and assumptions underlying the discount rates; and (ii) the basis

for assuming no terminal value for cost-synergies beyond 2040.

                                         Financial Projections

        36.     The Registration Statement fails to disclose material information regarding

Alexion’s and AstraZeneca’s financial projections.          The disclosure of projected financial




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information is material because it provides stockholders with a basis to project the future financial

performance of a company, and allows stockholders to better understand the financial analyses

performed by a company’s financial advisor in support of its fairness opinion.

          37.   The Registration Statement fails to disclose the following regarding Alexion’s

financial projections: (i) the line items used to calculate non-GAAP operating income; (ii) the line

items used to calculate tax-effected EBIT; (iii) the line items used to calculate unlevered free cash

flow; (iv) the line items used to calculate non-GAAP EPS; and (v) projected net income.

          38.   The Registration Statement fails to disclose the following regarding AstraZeneca’s

financial projections: (i) the line items used to calculate core EBIT; (ii) the line items used to

calculate unlevered free cash flow; (iii) the line items used to calculate core EPS; and (iv) projected

net income.

                                   Potential Conflicts of Interest

          39.   The Registration Statement fails to disclose material information regarding

potential conflicts of interest.

          40.   The Registration Statement fails to disclose the timing and nature of any

communications regarding post-transaction employment or directorships, including who

participated in all of the communications.

          41.   If disclosed, the omitted information would significantly alter the total mix of

information available to Alexion’s stockholders.

                                             COUNT I

 Claim Against the Individual Defendants and Alexion for Violation of Section 14(a) of the
                              Exchange Act and Rule 14a-9

          42.   Plaintiff repeats and realleges the above-referenced allegations as if fully set forth

herein.



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       43.     The Individual Defendants disseminated the false and misleading Registration

Statement, which contained statements that, in violation of Section 14(a) of the Exchange Act and

Rule 14a-9, in light of the circumstances under which they were made, failed to state material facts

necessary to make the statements therein not materially false or misleading.

       44.     Alexion is liable as the issuer of these statements.

       45.     The Registration Statement was prepared, reviewed, and/or disseminated by the

Individual Defendants. By virtue of their positions within the Company, the Individual Defendants

were aware of this information and their duty to disclose this information in the Registration

Statement.

       46.     The Individual Defendants were at least negligent in filing the Registration

Statement with these materially false and misleading statements.

       47.     The omissions and false and misleading statements in the Registration Statement

are material in that a reasonable stockholder will consider them important in deciding how to vote

on the Proposed Merger.

       48.     A reasonable investor will view a full and accurate disclosure as significantly

altering the total mix of information made available in the Registration Statement and in other

information reasonably available to stockholders.

       49.     The Registration Statement is an essential link in causing plaintiff to approve the

Proposed Merger.

       50.     Accordingly, defendants violated Section 14(a) of the Exchange Act and Rule 14a-

9.

       51.     Plaintiff is threatened with irreparable harm.




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                                             COUNT II

Claim Against the Individual Defendants and AstraZeneca for Violation of Section 20(a) of
                                   the Exchange Act

          52.   Plaintiff repeats and realleges the above-referenced allegations as if fully set forth

herein.

          53.   The Individual Defendants and AstraZeneca acted as controlling persons of

Alexion within the meaning of Section 20(a) of the Exchange Act as alleged herein.

          54.   Due to their positions as officers and/or directors of Alexion and participation in

and/or awareness of the Company’s operations and/or intimate knowledge of the false statements

contained in the Registration Statement, they had the power to influence and control and did

influence and control, directly or indirectly, the decision making of the Company, including the

content and dissemination of the various statements that plaintiff contends are false and

misleading.

          55.   Each of the Individual Defendants and AstraZeneca was provided with or had

unlimited access to copies of the Registration Statement alleged by plaintiff to be misleading prior

to and/or shortly after these statements were issued and had the ability to prevent the issuance of

the statements or cause them to be corrected.

          56.   Each of the Individual Defendants had direct and supervisory involvement in the

day-to-day operations of the Company, and, therefore, is presumed to have had the power to

control and influence the particular transactions giving rise to the violations as alleged herein, and

exercised the same.

          57.   The Registration Statement contains the unanimous recommendation of the

Individual Defendants to approve the Proposed Merger. They were thus directly involved in the

making of the Registration Statement.



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       58.     AstraZeneca also had supervisory control over the composition of the Registration

Statement and the information disclosed therein, as well as the information that was omitted and/or

misrepresented in the Registration Statement.

       59.     Accordingly, the Individual Defendants and AstraZeneca violated Section 20(a) of

the Exchange Act.

       60.     The Individual Defendants and AstraZeneca had the ability to exercise control over

and did control a person or persons who have each violated Section 14(a) of the Exchange Act and

Rule 14a-9, by their acts and omissions as alleged herein.

       61.     These defendants are liable pursuant to Section 20(a) of the Exchange Act.

       62.     Plaintiff is threatened with irreparable harm.

                                     PRAYER FOR RELIEF

       WHEREFORE, plaintiff prays for judgment and relief against defendants as follows:

       A.      Preliminarily and permanently enjoining defendants and all persons acting in

concert with them from consummating the Proposed Merger;

       B.      In the event defendants consummate the Proposed Merger, rescinding it and setting

it aside or awarding rescissory damages;

       C.      Directing the Individual Defendants to disseminate a Registration Statement that

does not contain any untrue statements of material fact and that states all material facts required in

it or necessary to make the statements contained therein not misleading;

       D.      Declaring that defendants violated Sections 14(a) and/or 20(a) of the Exchange Act,

as well as Rule 14a-9 promulgated thereunder;

       E.      Awarding plaintiff the costs of this action, including reasonable allowance for

attorneys’ and experts’ fees; and




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     F.      Granting such other and further relief as this Court may deem just and proper.

                                        JURY DEMAND

     Plaintiff requests a trial by jury on all issues so triable.

Dated: March 30, 2021                              GRABAR LAW OFFICE

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